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AO 442 (Rev 11/11) Arrest Warrant SA/mp USAO #4 2023R00364

UNITED STATES DISTRICT COURT

for the

District of Maryland

USDC- GREENBELT
United States of America *23 NOV 2 PH2:06
v. ) =.
) Case No, WEDCSSCK2E>\
SAMUEL SWEELEY )
)
)
)
Defendant
ARREST WARRANT
To: Any authorized law enforcement officer

YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay

(name of person to be arrested) SAMUEL SWEELEY
who is accused of an offense or violation based on the following document filed with the court:

W Indictment T Superseding Indictment 4 Information T Superseding Information Complaint
[ Probation Violation Petition 1 Supervised Release Violation Petition TViolation Notice Order of the Court
This offense is briefly described as follows:

Involuntary manslaughter, in violation of 18 U.S.C. § 1112(b)

Driving under the influence of alcohol, in violation of 36 C.F.R. § 4.23
Reckless driving, in violation of 36 C.F.R. § 4.2, assim. MTA § 21-901.1(a)
Speeding, in violation of 36 C.F.R. § 4.21(c)

Date: Dunbar Un a ny

Issuing officer's signature

City and state: Greenbelt, Maryland Honorable Timothy J. Sullivan. United States Magistrate Judge

Printed name and title

Return
This warrant was received ye A) | 24 . and the person was arrested on (date) i life 4
at (city and state) b / .
Geer eh on 4) C
Date: | | Ve 2 2
Arresting officer's signature
hr: S Canyon. JUsH
Printed name and title

